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  THE HUMANE SOCIETY OF THE UNITED
  STATES,

                  Plaintiff,

                           v.                           Civil Action No. 18-646 (TNM)

  THE ANIMAL AND PLANT HEALTH
  INSPECTION SERVICE, et al.,

                  Defendants.



                SUPPLEMENTAL DECLARATION OF TONYA G. WOODS

       I, Tonya G. Woods, make the following declaration in lieu of an affidavit as permitted by

Section 1746 of Title 28 of the United States Code. I make this declaration based upon the

knowledge I have acquired through the performance of my official duties. I am aware that this

declaration will be filed with the United States District Court for the District of Columbia, and

that it is the legal equivalent of a statement under oath.

     1.       I am presently employed with the United States Department of Agriculture

(USDA), Animal and Plant Health Inspection Service (APHIS), as the Freedom of Information

and Privacy Acts Director. I have held this position since 2008. Prior to this, I served as the

FOIA Officer at the Department of Commerce, National Marine Fisheries Service from 2004 to

2008, and as a FOIA analyst at APHIS from 2000-2004, and the U.S. Department of Energy

from approximately 1994 -2000.

       2.      In my current role, I provide day-to-day administration of the Freedom of

Information Act (FOIA) and Privacy Act (PA). I lead a staff of approximately 20 personnel and

we receive and process all FOIA requests and FOIA appeals for APHIS. Under my direction the

FOIA/PA staff: receives FOIA and PA requests; communicates with FOIA requesters;


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initiates/coordinates search efforts to locate documents responsive to individual requests;

examines responsive documents; makes determinations on initial FOIA responses; prepares

appeal responses; and handles FOIA referrals and consultations with other federal agencies. The

FOIA/PA staff maintains an electronic tracking system for all FOIA and PA requests received

and processed by APHIS and prepares Annual FOIA reports, Chief FOIA Officer’s Report, and

the Quarterly Reports.

       3.      I reviewed the Memorandum of Points and Authorities in Support of Plaintiff’s

Cross-Motion for Summary Judgment and Plaintiff’s Opposition to Defendants’ Motion for

Summary Judgment filed in this matter and I make this declaration based upon consultations

with APHIS personnel who are knowledgeable about the FOIA requests that are the subject of

this litigation. I also make this declaration based on my own knowledge, and/or on the basis of

knowledge acquired by me through the performance of my official duties.



POTENTIAL UNWANTED CONTACT, HARASSMENT, AND STIGMA

4.     HSUS has asserted that the concerns for potential unwanted contact, harassment, and

stigma are uncorroborated, conclusory, and speculative statements. However, APHIS has

routinely received numerous reports from licensees that support APHIS’s concerns. Some of

these reports were submitted in response to predisclosure notifications to licensees concerning

confidential commercial information in records to be disclosed pursuant to a FOIA request. The

licensees potentially impacted by the disclosure are requested to comment on whether the

disclosures contained confidential business information under FOIA Exemption 4. While this

process seeks their input on FOIA Exemption 4, licensees often send information focused on

protecting their privacy interest under FOIA Exemptions 6 and 7(C) along with examples of



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unwanted contact, harassment, or stigma to illustrate their assertion. The following, paragraphs

5-11, are a sampling of statements received from licensees.

5.     Two licensees described alleged harassment, including strangers taking photos or video

of their facilities and publishing them online: “[a]s a result of my kennel being filmed by

unknown persons who posted the video on the internet, I was notified on July 26, 2011, by a pet

store that bought many of my puppies that it would no longer buy my puppies as long as the

disparaging video was on the internet.” Some licensees reported that they felt physically

intimidated by individuals who oppose their businesses, especially licensees who residence is co-

located with their facilities. Other licensees commented that HSUS’s “smear campaign” has

resulted in physical illness and stress. Others raised concerns about their physical safety because

they view HSUS and other organizations as threats, and they are concerned about harassment.

6.     In 2016, in response to a FOIA request, a licensed dog breeder from Missouri stated “our

phone number is unlisted due to being a victim of harassment via 100’s of harassing phone calls

and bodily harm threats from an HSUS supporter, when they released a previous number they

obtained.”

7.     A licensed breeder and transporter commented in 2016, that showing a connection with a

certain kennel “will just allow more harassment by the animal rights terrorist. They have taken

pictures of our vehicles in the past and put them on web sites disclosing our license plate

numbers and referring to us as ‘puppy mill haulers’ and more. Inviting mobs of picketers to

locations of our customers while deliveries are made.” The transporter also reported that “a

delivery was being made to a customer in New York where animal rights activists were awaiting

our truck. They were filming the delivery while screaming obscenities at our drivers.” The

transporter also expressed a concern that any information released would be used “to publicly



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harass my business and the customers we service via the internet, picketing lines or any other

means they find … to spread ugly rumors and lies. In some cases cause physical harm.

8.     Licensed exhibitors from Florida and Texas expressed concern, in 2017, about releasing

location information “due to the fact that we are being victimized and harassed by the animal

rights organization” or because “they have made threats to do harm to myself and animals.”

9.     A licensed exhibitor from Illinois expressed concern, in 2017, that releasing location and

 business names would result in “pressure to venues to cancel us, stage protest, putting our

 animals and us in harm’s way. We have had animals rights [supporters] trespass at our home

 when we were not home.”

10.    A licensed exhibitor from Florida expressed concern, in 2017, because in the licensee’s

opinion the “animal rights groups” “have turned to a disturbing tactic of singling out individual

animal owners and animal related businesses by publishing names, their addresses, and

photographs of their animals on-line. Even more disturbing is that the personal and exhibition

schedule information of private animal enterprise owners is being used to harass their sponsors

and the venue owners to bully them into discontinuing their business relationship…. Clearly

USDA licensee’s information is being used as a weapon against them.”

11.    A licensed exhibitor from Florida expressed concern in 2017, about the release of

information and stated: “I have been victimized and subject to online bullying, threats, stalking

and harassment.” The licensee stated that letters were written “to my employers in an attempt to

damage my family reputation … and have pressured our sponsor to drop our contract. With the

constant bullying, threats and harassment I fear for the safety of my family and my bears.”

                             THE LICENSEES AT ISSUE HERE

12.    There are more than 6,600Animal Welfare Act (“AWA”) licensees nationwide.



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13.     Plaintiff’s two FOIA requests at issue in this case sought records concerning (1) Marvin

Burkholder / Berlin Kennel, (2) Owen Yoder, (3) Little Puppies Online, (4) Evergreen Designer,

and (5) Natural Bridge Zoo.

14.     As discussed in my prior declaration (at paragraph 41), unredacted records concerning

Evergreen Designer were previously released so those records are not at issue in this case.

15.     Although APHIS initially withheld records relating to Little Puppies Online, APHIS has

since determined that Little Puppies Online is not a homestead business as previously believed.

On December 11, 2018, APHIS informed Plaintiff that it was releasing responsive records

relating to Little Puppies Online. The responsive records were released with all redactions

removed except for names and signatures of third- party receiving officials and signatures of

APHIS inspectors.

16.          The records that remain at issue in this case relate to (1) Marvin Burkholder / Berlin

Kennel, (2) Owen Yoder, and (3) Natural Bridge Zoo. APHIS has determined that each of these

is an individual or homestead business. Each of the licensees resides at the site of their AWA

facility.



                  AVAILABILITY OF INFORMATION THROUGH OTHER SOURCES

17.     Plaintiffs have asserted that “without linking an inspection report to a particular facility,

and without being able to track how APHIS’ inspections of a particular facility change or remain

the same over time,” they are unable to discern “whether APHIS has ever inspected a specific

facility, or has gone years without inspecting a facility; whether APHIS has conducted the annual

inspections that are required for certain types of facilities under the AWA; whether and how

APHIS is applying the AWA uniformly or disparately across different facilities; whether and



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how APHIS is addressing repeat violations across inspection reports for a single facility (as

opposed to citing first-time violations across inspection reports for different facilities); whether

APHIS is timely re-inspecting facilities to ensure that deficiencies noted on prior inspection

reports are addressed by noted “correct by” dates; whether, in the case of “no access” violations,

USDA ever returned and gained access; or whether APHIS conducted an investigation after a

complaint was submitted regarding a facility or an incident was reported in the press.”

18.    With regard to the facilities implicated by Plaintiff’s FOIA requests, Plaintiff can

determine “whether APHIS has ever inspected a specific facility or gone years without

inspecting a facility.” In each of the inspection reports released in response to Plaintiff’s FOIA

requests, Defendants left unredacted the facility inspected and the year of the inspection.

19.    The general public can determine extensive information about APHIS inspections by

using the online APHIS Public Search Tool, which provides three years of information on

licensees. For example, the general public can access three years’ worth of full inspection reports

for the non-residential businesses that have an AWA license. The public can also see three years

of inspection report narratives for those AWA licensees that are individuals and residential

businesses, but with the name and other identifying information protected. For all licensees,

users can see the history of the previous three years of reports, including the dates the inspections

were conducted and how the findings for the facilities have changed over time.

20.     For example, if a member of the general public conducted a search for breeders in

Missouri and clicked on alicensee that is an individual or homestead business, they will not see

the name or other identifying information for the licensee, but they will see their history of

inspections. Exhibit 1 demonstrates inspections that occurred on August 19, 2016, May 22, 2017,

October 20, 2017 and April 23, 2018. From this screen, the public can determine not only the



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frequency of inspections, but also whether the licensee had any direct, non-critical, or critical

noncompliant items identified during the inspection.

21.     Furthermore, the public can open the full inspection reports for each of these inspections

to monitor the specific information about any of the noncompliant items identified during an

inspection (Exhibit 2). They can also open the following inspection report to determine whether

the deficiency was corrected. (Exhibit 3)

22.     For inspections where the licensee was not available to be inspected (Exhibit 4) (“no

access”), a member of the public can verify in the next inspection report when APHIS revisited

to conduct the full inspection (Exhibit 3).

23.     The inspection reports note the city and identify which site is being inspected, so the

public can see when and how often each site is inspected.

24.     They can use these inspection reports to compare how often inspections are conducted in

specific states. For example, they can compare inspections conducted in different states,

between different kinds of licensees, in different years. Additionally, they can identify which

states or cities or license types have the highest incidence of noncompliance.

25.     For research facilities, where the AWA requires that the Agency inspect at least once a

year, the vast majority of licensees are non-residential businesses and therefore their full

inspection reports, including identifying information, are available for view by the general public

(Exhibit 5). None of the facilities at issue in this case are research facilities.

26.     For those research facilities that are individuals and residential businesses, the general

public can see whether the Agency is meeting its annual inspection requirement, even though the

name and other identifying information is protected (Exhibit 6).




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27.   Inspection reports would not typically indicate whether an inspection was related to a

complaint received from the public. APHIS has a separate process for handling complaints from

the public regarding AWA licensees. APHIS accepts complaints from members of the public,

and assigns complaints about issues regulated under the AWA a specific tracking number. This

tracking number is provided to complainants in an acknowledgment letter—unless the complaint

is submitted anonymously and contact information is unavailable—along with information on

how to submit a FOIA request to obtain the results of their complaint. This process has not

changed and APHIS regularly releases records related to complaints in response to FOIA

requests. None of the records at issue are related to the complaint process within APHIS.

28.   APHIS inspection and enforcement activities can be monitored through the statistical

reporting the Agency provides on its website on a quarterly basis.

https://www.aphis.usda.gov/animal_welfare/downloads/AC-Accomplishments-Report-

FY2018_Q1-and-Q2.pdf        and https://www.aphis.usda.gov/aphis/ourfocus/business-

services/ies/ies_performance_metrics/ies-ac_enforcement_summary.

29.    Attached as Exhibit 7 are pages from 2017-APHIS-05532-F, which were released to the

Plaintiff on August 28, 2018.



      12/13/2018
                                          TONYA WOODS Digitally signed by TONYA WOODS
                                                      Date: 2018.12.13 13:14:18 -05'00'
Dated ___________________                ________________________________
                                                  Tonya G. Woods




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Exhibit 1
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                Exhibit 2
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                                                                                                             DCOURTRIGHT
                                         United States Department of Agriculture
                                        Animal and Plant Health Inspection Service

                                                  Inspection Report


 BOLIVAR, MO




3.11(c)
CLEANING, SANITIZATION, HOUSEKEEPING, AND PEST CONTROL.
Section 3.11(c) Housekeeping
The fencing of enclosures there is grass growing into the fence and along the parameter. The overgrown grass in
the fence and near the pens allows rodents and pest to live near the dogs. The grass must be maintained and
controlled so as to facilitate cleaning of the premises and pest control and to protect the health and well-being of the
dogs.
To be corrected by 08-31-2016



This inspection and exit interview were conducted with facility representative.


This is an electronic version of the report dated 08-19-2016.




                          DAVID COURTRIGHT, A C I
Prepared By:
                                                                                              Date:
                     DAVID COURTRIGHT         USDA, APHIS, Animal Care
                                                                                              30-AUG-2016
          Title:     ANIMAL CARE INSPECTOR 4042

Received By:

                                                                                              Date:
          Title:                                                                              31-AUG-2016
                                                   Page 1 of 1
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                Exhibit 3
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                                                                                                          DCOURTRIGHT
                                        United States Department of Agriculture
                                       Animal and Plant Health Inspection Service                             Insp_id

                                                 Inspection Report


                                                                Customer ID:
 BOLIVAR, MO
                                                                  Certificate:
                                                                         Site:    001




                                                                       Type:      ROUTINE INSPECTION
                                                                        Date:     20-OCT-2017


No non-compliant items identified during this inspection.


This inspection and exit interview were conducted with facility representative.




Prepared By:            COURTRIGHT DAVID, A C I
                                                                                            Date:
                   COURTRIGHT DAVID, A C I          USDA, APHIS, Animal Care
                                                                                            20-OCT-2017
        Title:     ANIMAL CARE INSPECTOR 4042

Received By:

                                                                                            Date:
        Title:                                                                              20-OCT-2017
                                                  Page 1 of 1
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                Exhibit 4
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                                                                                                            DCOURTRIGHT
                                        United States Department of Agriculture
                                       Animal and Plant Health Inspection Service

                                                Inspection Report


 BOLIVAR, MO




2.126(b)
ACCESS AND INSPECTION OF RECORDS AND PROPERTY; SUBMISSION OF ITINERARIES.
A responsible adult was not available to accompany APHIS Officials during the inspection process at 1130-1200
hours on 22-May-17.



I called your cell phone and you stated you just left for an appointment and could not do an inspection but you could
on Friday.. As a reminder all inspection have to be unannounced. I left my business card in your mailbox.




                        COURTRIGHT DAVID, A C I
Prepared By:
                                                                                            Date:
                   COURTRIGHT DAVID, A C I         USDA, APHIS, Animal Care
                                                                                            22-MAY-2017
        Title:     ANIMAL CARE INSPECTOR 4042

Received By:

                                                                                            Date:
        Title:                                                                              22-MAY-2017
                                                 Page 1 of 1
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Exhibit 5
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Exhibit 6
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        Exhibit 7
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